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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION OPI-               MDL No. 2804
ATE LITIGATION
                                               Case No. 17-md-2804
This document relates to:
The County of Summit, Ohio, et al. v. Purdue   Hon. Dan Aaron Polster
Pharma L.P., et al.
Case No. 18-op-45090




 REPLY IN SUPPORT OF THE MANUFACTURER DEFENDANTS’ JOINT MOTION
         TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
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                                        INTRODUCTION

        This case is one of multiple lawsuits seeking to saddle a handful of pharmaceutical manu-

facturers with the costs of all social ills associated with opioid abuse throughout the State of Ohio.1

Ignoring the multitude of factors that have contributed to the current public health crisis, Plaintiffs

urge the Court to award both forward-looking equitable relief to attempt to ameliorate the problem

and retrospective damages for all public expenditures supposedly stemming from the abuse of both

lawful prescription opioid medications and criminally prohibited street drugs. As the Manufacturer

Defendants demonstrated in their Motion, Plaintiffs’ lawsuit suffers from multiple defects as a

matter of law.

        Plaintiffs’ claims fail for many reasons, but the most fundamental—one that applies equally

across all claims—is that Plaintiffs cannot allege a causal chain that satisfies the requirements of

either but-for or proximate causation. As to but-for causation, Plaintiffs must plead and prove that

“but for” the Manufacturer Defendants’ alleged wrongful conduct, the broad-ranged social ills

associated with the opioid crisis and their attendant costs would not have occurred. But Plaintiffs

have not provided the necessary link between the Manufacturer Defendants’ alleged misrepresen-

tations and the public expenditures for which Plaintiffs seek recovery. Indeed, the 2AC does not

identify even a single doctor who was exposed to (let alone relied on) any alleged misrepresenta-

tion by a Manufacturer Defendant before prescribing a harmful or medically unnecessary opioid

medication to a Summit County resident, or any alleged damage Plaintiffs suffered as a result of

any such (unidentified) wrongful prescription.


1
  Unless otherwise noted, all capitalized terms and acronyms are defined in Defendants’ Memo-
randum in Support of the Manufacturer Defendants’ Joint Motion to Dismiss Plaintiffs’ Second
Amended Complaint (Dkt. #499-1) (“Motion” or “JM”), emphasis in quotations is added, and in-
ternal citations, quotation marks, and alterations are omitted. “Opposition” or “Opp.” refers to
Plaintiffs’ Omnibus Memorandum in Opposition (Dkt. #654).


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       Of course, even if Plaintiffs could establish but-for causation, they have not pleaded and

cannot establish proximate causation. Foreseeability of ultimate harm alone is not enough: the

kinds of broad social ills for which Plaintiffs seek recompense—such as police work relating to

drug abuse, adjudicating drug-related offenses, incarcerating drug offenders, treating drug addicts,

placing children in foster care, and lower property and income taxes in Ohio, see, e.g., 2AC ¶¶ 20,

902, 934, 948, 972—are simply too remote to satisfy the proximate cause requirement. Further,

the attenuated causal chain between the Manufacturer Defendants’ supposed wrongful conduct

and Plaintiffs’ alleged damages is broken, at a minimum, by both (i) physicians’ exercise of inde-

pendent medical judgment in prescribing lawful opioid medications to patients and (ii) the inter-

vening criminal conduct of third parties.

       Plaintiffs’ claims also run headlong into FDA’s exclusive regulation of prescription drugs

and their marketing, improperly seeking to hold the Manufacturer Defendants liable for doing ex-

actly what the federal government has authorized. Plaintiffs turn 180 degrees from their 2AC and

now concede that FDA has approved most of the opioid medications at issue as “safe and effective

for the long-term treatment of chronic non-cancer pain.” Opp. 116. Plaintiffs also acknowledge,

as they must, that the products’ FDA-approved labeling fully and prominently discloses the risks

of abuse at issue. Id. Plaintiffs concede that the Manufacturer Defendants cannot be held liable for

promoting their drugs for FDA-approved uses or for offering FDA-approved drugs for sale. At

bottom, however, that is the basis for their claims. No matter how Plaintiffs spin their claims, they

cannot escape that only FDA has authority to decide which prescription drugs should be available,

and only DEA has authority to decide whether scheduled drugs may be distributed.

       Although all Plaintiffs’ claims for relief fail, the RICO claims stand out in the sheer number

of dispositive flaws. The 2AC does not adequately allege a single element of a civil RICO claim.




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A governmental entity’s public expenditures are not an injury to “business or property” within the

meaning of the statute. The 2AC does not establish any conceivable RICO “enterprise.” Nor have

Plaintiffs adequately pleaded any plausible “predicate act” or injury “by reason of” the Manufac-

turer Defendants’ alleged conduct. Rhetoric equating lawful businesses’ marketing of FDA-ap-

proved prescription medications to criminal “racketeering” does not make a RICO claim.

         With no basis to seek past damages, what’s left of Plaintiffs’ 2AC—principally a forward-

looking claim for abatement under public nuisance—is equally flawed. While Plaintiffs rely on

the Ohio Supreme Court’s Beretta decision, the prevailing view of courts across the country, in-

cluding those applying Ohio law, is that public nuisance law cannot be used to try to solve multi-

faceted societal problems. That is precisely what Plaintiffs aim to do, and their nuisance claims

should be dismissed.

         Beyond these and other flaws foreclosing Plaintiffs’ claims, the rules of standing and pri-

mary authority preclude political subdivisions like Plaintiffs from bringing such claims in these

circumstances. It is unfair, unwieldy, and impractical to allow myriad state subdivisions to bring

multiple me-too lawsuits, particularly when, as here, the state’s own attorney general is already

pursuing parallel claims for the state as a whole. Basic standing principles bar this multiplicative

litigation. And under settled Ohio law, a political subdivision cannot usurp the power of the state’s

attorney general to prosecute legal claims of statewide concern on the state’s behalf.

         Hence, the 2AC should be dismissed in its entirety.

                                           ARGUMENT

I.       PLAINTIFFS LACK STANDING TO BRING CLAIMS THAT INVADE THE
         STATE’S EXCLUSIVE POWER TO ADDRESS MATTERS OF STATEWIDE
         CONCERN

         A.     Plaintiffs Lack Standing Under the “Statewide Concern” Doctrine

         Plaintiffs do not dispute that, under Ohio law, a “municipality may not, in the regulation


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of local matters, infringe on matters of general and state-wide concern.” Reading v. Pub. Util.

Comm’n, 846 N.E.2d 840, 846 (Ohio 2006). And they concede that the opioid crisis alleged here

presents matters of “statewide or even nationwide concern.” Opp. 110. This suffices to dismiss

Plaintiffs’ claims. JM 6-8. Plaintiffs’ responses lack merit.

          First, Plaintiffs contend that, as political subdivisions, they share “police power” with the

State in adopting local health and safety regulations impacting matters of statewide concern. Opp.

109-10 & n.78. But all the cases Plaintiffs cite for that proposition involve purely local, not

statewide, issues. See, e.g., Marich v. Bob Bennett Constr. Co., 880 N.E.2d 906, 912 (Ohio 2008)

(local traffic ordinance); In re Thornburg, 9 N.E.2d 516, 518-19 (Ohio Ct. App. 1936) (same);

Kovar v. City of Cleveland, 102 N.E.2d 472, 475 (Ohio Ct. App. 1951) (local dog muzzling ordi-

nance). Nor do Plaintiffs provide any authority for them to bring a lawsuit—as opposed to enacting

an ordinance—on statewide matters under their purported police power. To the contrary, Plaintiffs

concede they “have not asserted their claims parens patriae and do not seek to do so.” Opp. 109

n.75.

          Second, Plaintiffs cite Ohio statutes permitting certain types of municipal prosecutors to

bring public nuisance claims “in the name of the state.” Opp. 112 (citing O.R.C. §§ 3767.03,

4729.35). Critically, however, those statutes only permit municipalities (through their public pros-

ecutors) to bring claims “in the name of the state;” but that is what the Ohio Attorney General is

doing. JM 7. Contrary to Plaintiffs’ suggestion, these two lawsuits “conflict”: if both proceed, they

would impermissibly split the claims at issue and risk inconsistent rulings and duplicative recov-

eries. Id. In any event, those statutes, of course, have no relevance to Plaintiffs’ non-nuisance

claims.

          Third, Plaintiffs argue they can recover “their own,” purely local costs “to address and/or




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abate the opioid crisis.” Opp. 112. The Ohio Supreme Court has rejected similar attempts to cir-

cumvent the statewide concern doctrine based on the argument that local matters are also at issue.

For good reason: because any matter of statewide concern necessarily also affects local concerns,

permitting local concerns to prevail in such circumstances would eviscerate the statewide concern

doctrine. Thus, “even if there is a matter of local concern involved, if the regulation of the subject

matter affects the general public of the state as a whole more than it does the local inhabitants the

matter passes from what was a matter for local government to a matter of general state interest.”

City of Kettering v. State Employment Relations Bd., 496 N.E.2d 983, 987 (Ohio 1986). That prin-

ciple applies here and defeats Plaintiffs’ claims.

        B.     Plaintiffs Also Lack Standing Given Ohio Law’s Mandate That the Attorney
               General Is the State’s Chief Legal Officer

        Plaintiffs concede that the Ohio Attorney General is Ohio’s chief law enforcement officer,

has already filed a lawsuit based upon the same alleged conduct, Opp. 113, and seeks to “recover

all measures of damages allowable under” statute and the common law, AG Compl. ¶ 248(C)—a

request that encompasses the relief sought here. These concessions are dispositive. Plaintiffs cite

no authority allowing them to circumvent the Attorney General’s constitutional authority by bring-

ing a duplicative action based on matters of statewide concern.2 Unable to challenge the Attorney

General’s exclusive authority, Plaintiffs instead dispute his assertion that there is “no other Plain-

tiff . . . better situated to seek a remedy for the economic harms” purportedly caused by the Man-

ufacturer Defendants. Id. ¶ 247; see Opp. 114. But the Attorney General has the power to control

all litigation implicating matters of statewide concern, JM 8, and he has exercised that authority



2
  Plaintiffs also cannot usurp the Attorney General’s common law powers to “[c]hampion[] the
proprietary and pecuniary interests of the government itself, and contest[] infringements of the
rights of the general public via the doctrine of parens patriae.” 16 Ohio Jur. 3d Const. Law § 269.


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here. As entities “subordinate to the state in the exercise of governmental power,” State v. Price,

128 N.E. 173, 175 (Ohio 1920),3 Plaintiffs cannot usurp the Attorney General’s authority by as-

serting the same allegations, against the same manufacturers, in an entirely separate action.

II.     THE ABSENCE OF BUT-FOR AND PROXIMATE CAUSATION IS FATAL TO
        ALL OF PLAINTIFFS’ CLAIMS

        All Plaintiffs’ claims against the Manufacturer Defendants—not just the RICO claims but

all other claims as well—turn on the premise that the Manufacturer Defendants engaged in conduct

that actually and proximately caused the opioid crisis. To prevail, Plaintiffs must plead (and then

prove) both that but for the Manufacturer Defendants’ supposedly wrongful conduct, the opioid

crisis would not have happened, and that the resulting harms to Plaintiffs are not so attenuated or

remote that recovery is barred as a matter of law. Plaintiffs have not done so, nor could they.

        A.     Plaintiffs’ Theory of Wrongful Marketing Fails for Lack of Causation

               1.      Plaintiffs Have Not Identified Any Purported Misrepresentation That
                       Actually Caused a Prescriber to Write a Harmful Prescription

        Plaintiffs concede that the 2AC fails to identify any prescribers who were exposed to, let

alone misled by, the Manufacturer Defendants’ alleged deceptive marketing. Opp. 29. Plaintiffs

argue that there is “no authority” requiring them to do so, id., but the cases cited in the Motion

refute that argument. See JM 12 & n.15 (collecting cases). Those cases show that Plaintiffs cannot

adequately plead but-for causation for their claims without identifying Summit County prescribers

who wrote harmful, ineffective, or medically unnecessary opioid prescriptions as a result of the




3
  Although Plaintiffs suggest that the Ohio Constitution abrogated this principle by extending home
rule power to municipalities in 1933, Opp. 113, Ohio courts have continued to recognize that po-
litical subdivisions are mere “instrumentalities” or “agents” of the State. See, e.g., Cook-Johnson
Realty Co. v. Bertolini, 299 N.E.2d 80, 83-84 (Ohio 1968); 19 Ohio Jur. 3d Counties § 31.


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alleged fraud. Id.4 Rule 9(b)’s pleading requirements aside,5 the 2AC’s failure to identify even one

such prescriber defeats Count 1 under Iqbal and Twombly’s basic plausibility standard. See, e.g.,

In re Actimmune Mktg. Litig., 2010 WL 3463491, at *10 (N.D. Cal. Sept. 1, 2010) (“Even with the

benefit of the lower pleading standard under Rule 8(a), plaintiffs have failed to adequately allege

causation” when the plaintiffs failed to “allege that their doctors believed that Actimmune was an

effective treatment . . . as a result of defendants’ off-label promotion of Actimmune.”).

               2.      Plaintiffs’ Proposed Causal Chain Is Too Attenuated and Remote to
                       Establish Proximate Causation

        Plaintiffs’ injuries are too attenuated and remote to satisfy the proximate causation standard

as a matter of law. JM 12-17. Plaintiffs respond to this defect with two arguments: (1) their alleged

damages were “directly caused” by the Manufacturer Defendants, and (2) even if not direct, the

alleged damages satisfy the three Holmes factors. Opp. 38-45. Both arguments fail.

        As to the directness of their alleged injuries, Plaintiffs ignore the uniform authority holding

that third-party payors’ injuries from alleged fraud by manufacturers cannot, as a matter of law, be

proximately caused by the manufacturers’ misrepresentations. JM 14. Rather than distinguish

those cases,6 Plaintiffs instead argue that, under Wallace v. Midwest Financial & Mortgage Ser-

vices, Inc., 714 F.3d 414 (6th Cir. 2013), they need only establish “a link” between their alleged

harms and the alleged fraud. Opp. 39-40. Plaintiffs misread Wallace, as the quoted language states

only that the link in that case was sufficient to establish proximate cause—the court nowhere held


4
 Without even these first steps, Plaintiffs also necessarily fail to identify any harmful, ineffective,
or medically unnecessary opioid prescription written as a result of alleged fraud that then allegedly
caused Plaintiffs’ alleged damages or created the alleged public nuisance.
5
  To the extent Plaintiffs argue that they need not identify prescribers because Rule 9(b) should be
relaxed here, that argument fails for the reasons stated infra § IV.B.2.b.
6
  Plaintiffs’ lone attempt to distinguish Perry v. Am. Tobacco Co., 324 F.3d 845 (6th Cir. 2003),
fails for the reasons stated in the text and infra § IV.A.1.


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that any “link,” no matter how attenuated, is sufficient. 714 F.3d at 420.7

        Nor have Plaintiffs dispelled the policy concerns at issue when, as here, a RICO claim

would require the court to “ascertain the damages caused by some remote action.” Anza v. Ideal

Steel Supply Corp., 547 U.S. 451, 458 (2006) (citing Holmes v. Sec. Investor Prot. Corp., 503 U.S.

258, 269 (1992)). As to the first Holmes factor (difficulty of attributing damages to particular de-

fendants), Plaintiffs ignore the extensive authorities holding that a prescribing physicians’ exercise

of independent medical judgment when prescribing medications requires dismissal of fraud-based

RICO claims against pharmaceutical manufacturers because those claims would require an un-

workable inquiry into the doctor-patient relationship. JM 15 & n.16.8 Similarly, as to the second

Holmes factor (duplicative recovery), although Plaintiffs assert that there is “no risk” of overlap-

ping damages, they nowhere explain how recovery by individual opioid consumers for addiction-

related injuries would not be duplicative of Plaintiffs’ recovery for addiction-related services. Opp.

45. Lastly, as to the third Holmes factor (deterrence), Plaintiffs ignore the fact that individual con-




7
  Wallace is factually distinguishable. There, a homeowner sued his mortgage broker for allegedly
using inflated appraisals. 714 F.3d at 420. But unlike this case—which alleges an attenuated, multi-
part causal chain—the fraudulent appraisals in Wallace were the homeowners’ “first priorities”
that “clear[ly]” “played a significant role” in their alleged harm. Id. The claims here are more like
those of the city seeking to recover public expenditures in City of Cleveland v. Ameriquest Mort-
gage Securities, Inc., where the alleged harm was held to be too remote because it was caused by
“a set of actions (neglect of property, starting fires, looting and dealing drugs)” “completely dis-
tinct from the asserted misconduct (financing subprime loans).” 615 F.3d 496, 507 (6th Cir. 2010).
Plaintiffs attempt to distinguish City of Cleveland on the ground that the banking defendants in
that case offered lawful financial services, see Opp. 14, but the Manufacturer Defendants’ pre-
scription opioid medications are equally lawful. See JM 19-20, 34-38, 42-47.
8
  Plaintiffs contend that the alleged simple correlation between opioid promotion and an increase
in opioid misuse and abuse can establish the requisite connection. Opp. 44 n.29. But multiple
courts have rejected similar statistical modeling approaches as insufficient to adequately plead
proximate causation, including under the Holmes factors. See JM 16-17 & n.17 (citing Allegheny
Gen. Hosp. v. Philip Morris, Inc., 228 F.3d 429, 441-42 (3d Cir. 2000); Or. Laborers-Employers
Health & Welfare Tr. Fund v. Philip Morris Inc., 185 F.3d 957, 964-65 (9th Cir. 1999)).


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sumers can bring lawsuits for injuries they allegedly suffered because of the Manufacturer De-

fendants’ alleged misconduct. Id. 44. Nor do Plaintiffs account for the existing enforcement action

brought by the State, based upon the exact same conduct.

       Plaintiffs fare no better in arguing that the Manufacturer Defendants “contemplated and

caused the intervening acts.” Id. 41. Plaintiffs cite In re Neurontin Mktg. and Sales Practices Litig.,

712 F.3d 21 (1st Cir. 2013), for the proposition that the Manufacturer Defendants caused prescrib-

ers—despite prescribers’ duty to exercise independent medical judgment with their patients—to

write improper prescriptions, Opp. 41, but Neurontin has been widely disapproved, as it “implies

disagreement with . . . four circuits . . . that improper representations made to physicians do not

support a RICO claim by [individuals] several levels removed in the causal sequence.” Sidney

Hillman Health Center of Rochester v. Abbott Labs., 873 F.3d 574, 578 (7th Cir. 2017). In addition,

the Neurontin plaintiff’s injury was considered to be direct because the alleged misstatements and

omissions purportedly reached plaintiff (and its pharmacy benefit managers), causing it to forgo

cheaper alternative medications for the off-label indications. 712 F.3d at 32-33, 40. Unlike here,

the Neurontin plaintiff’s injury did not involve the costs of addressing various social ills many

steps removed from the alleged misconduct. Tellingly, ignoring the Holmes factors, Plaintiffs nei-

ther identify nor allege any basis for isolating the impact of allegedly fraudulent marketing from

the impact of lawful marketing on such downstream injuries in this already attenuated causal chain,

much less how this possibly could be done in the context of numerous distinct third parties and

defendants who compete against one another.

       Plaintiffs also argue that the Manufacturer Defendants themselves caused intervening

third-party criminal conduct (e.g., street-level drug dealing and heroin usage). Opp. 42. But courts

recognize that such conduct is the result of “independent decisions.” City of Cleveland, 615 F.3d




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at 505. Those “independent decisions” break Plaintiffs’ proposed causal chain. See Robinson v.

Vehicle Acceptance Corp., 2017 WL 3084579, at *3 (Ohio Ct. App. July 20, 2017); Levy v. Stokes,

1978 WL 218304, at *8 (Ohio Ct. App. Dec. 14, 1978).

        Given the attenuated causal chain and the multiple intervening forces that break that chain,

Plaintiffs are left to rely only on conclusory allegations that their alleged harms were the foresee-

able result of the allegedly wrongful marketing conduct. But “foreseeability alone is not sufficient

to establish proximate cause.” Bank of Am. v. City of Miami, 137 S. Ct. 1296, 1305 (2017). Plain-

tiffs thus cannot establish proximate cause for their injuries as a matter of law.9

        B.     Plaintiffs’ Supply Chain Theory Fails for Lack of Causation

        Plaintiffs’ supply chain theory fares no better than their marketing theory does.

        First, Plaintiffs argue that the 2AC pleads but-for causation for Count 2 by alleging that the

Manufacturer Defendants “concealed and suppressed and/or ignored” unspecified “warnings”

about unspecified “suspicious orders,” which “le[d] to the diversion” of prescription opioids into

unspecified communities. Opp. 41. But apart from failing to specify any order that any Manufac-

turer Defendant could or should have identified and reported, Plaintiffs also fail to allege how any

such report, had one been made, would have led to any action by DEA that would have averted

prescription opioid diversion and, in turn, prescription opioid misuse, abuse, and addiction in Sum-

mit County. JM 28-29.

        Second, Plaintiffs’ failure to dispute that the causal chain on their supply chain theory in-

cludes intervening conduct by third parties, including distributors, retailers, patients, and criminals,

Opp. 41, similarly dooms their attempt to establish proximate causation on that claim. JM 29-30;


9
 Plaintiffs suggest that the Court cannot decide issues of proximate causation at the pleading stage,
Opp. 38, but the Sixth Circuit has expressly rejected this argument. City of Cleveland, 615 F.3d at
503 (citing Anza, 547 U.S. at 459).


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supra § II.A.2. In fact, the 2AC itself contains numerous allegations demonstrating the absence of

proximate causation (many of which the Opposition itself references). These include, most nota-

bly, allegations of multiple independent and intervening acts that break Plaintiffs’ proposed causal

chain, including criminal diversion and illegal use of street drugs. Opp. 7 (quoting 2AC ¶ 20); see

also White v. Vrable, 1999 WL 771053, at *6 (Ohio Ct. App. Sept. 30, 1999).

III.     PLAINTIFFS’ STATE LAW CLAIMS (COUNTS 3-11) ARE PREEMPTED

         A.     Plaintiffs’ Claims Challenging Promotion Consistent with FDA-Approved La-
                beling and for Off-Label Uses Are Preempted and Barred

         In their Opposition, Plaintiffs contend that:

         (1) they “do not challenge” any Manufacturer Defendants’ “FDA-approved labeling,”
             Opp. 116;

         (2) they “do not contend that the Manufacturer Defendants should have changed their la-
             bels,” id. 118;

         (3) “None of [the alleged] misrepresentations includes the claim that opioids cannot be safe
             and effective for the long-term treatment of chronic non-cancer pain,” id. 116;

         (4) “Plaintiffs’ claims do not rest on any allegation of fraud on the FDA,” id. 119; and

         (5) “FDA has exclusive authority to enforce the [FDCA’s] prohibitions on off-label mar-
             keting,” and “Plaintiffs do not seek to enforce that FDCA prohibition.” Id.

By abandoning any claims based on these five theories,10 Plaintiffs acknowledge that such claims

are preempted by federal law—including any claim alleging that the Manufacturer Defendants

falsely promoted opioids as safe and effective for the long-term treatment of chronic non-cancer

pain. Indeed, Plaintiffs do not contest that federal law preempts claims based on promotion con-

sistent with FDA-approved product labeling. See JM 34-36 (citing cases).

         Plaintiffs nevertheless maintain that federal law does not preempt claims premised on the


10
  These first two concessions further undermine Plaintiffs’ statement, elsewhere in the Opposition,
that “the Manufacturer Defendants did not adequately warn doctors.” Opp. 47; see supra § II.A.2;
infra §§ IV.B.2.a, IX.


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nine categories of purported misrepresentations alleged at 2AC ¶ 177. Opp. 116 & n.85. But each

of these categories includes alleged misrepresentations that relate either to the safety and efficacy

of opioids for the long-term treatment of chronic non-cancer pain (e.g., 2AC ¶ 177 (a)-(c), (f)-(i)),

or to the dosage and FDA-approved use of the medications (e.g., id. (d)-(e)). These alleged mis-

representation claims cannot escape preemption. See JM 34-36.

       Plaintiffs also argue that alleged “off-label” marketing exposes certain Manufacturer De-

fendants to state-law liability for fraud, misrepresentation, or nuisance. Opp. 119. But it is well-

settled that “the promotion of off-label drug use is not in and of itself false or misleading,” United

States v. Caronia, 703 F.3d 149, 165 (2d Cir. 2012), and, for this reason, courts routinely dismiss

similar false marketing claims based upon allegations of off-label promotion. See, e.g.,

Ind./Ky./Ohio Reg’l Council of Carpenters Welfare Fund v. Cephalon, Inc., 2014 WL 2115498, at

*5, 9 (E.D. Pa. May 21, 2014) (“Carpenters”); Travelers Indem. Co. v. Cephalon, Inc., 32 F. Supp.

3d 538, 552 (E.D. Pa. 2014), aff’d, 620 F. App’x 82 (3d Cir. 2015). Moreover, this argument walks

directly into preemption; it confirms that Plaintiffs’ allegations of off-label promotion merely seek

to usurp FDA’s authority to enforce its regulatory rules. As such, federal law therefore preempts

Plaintiffs’ state-law claims premised on alleged “off-label” marketing of opioids. See JM 35-36.

       B.      Plaintiffs’ Claims Seeking to Hold Defendants Liable for Not Stopping Sales
               or Shipment of Prescription Opioids Are Preempted by Federal Law

       Plaintiffs also concede that their claims are preempted by federal law to the extent they

seek to hold the Manufacturer Defendants liable for “offering [their] FDA-approved drugs for

sale.” Opp. 120-21; see id. 122 & n.88. Faced with this bar, Plaintiffs assert that they “do not allege

that the [Manufacturer Defendants] should have stopped selling their products—only that they

should have monitored the quantity of opioids being sold and taken steps to avoid diversion and

misuse.” Id. 120-21. The Opposition itself belies this assertion by recognizing that Plaintiffs also



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“allege that Defendants had a duty . . . to stop shipment of suspicious orders.” Id. (citing 2AC ¶

512). This purported “stop shipment” requirement, which would require the Manufacturer Defend-

ants to “cease[] filling orders for opioids,” 2AC ¶ 688, is also preempted. Indeed, such a require-

ment would present the same impermissible conflict as the “stop selling” requirement Plaintiffs

disavow: both would intrude on FDA’s exclusive authority to determine which prescription drugs

should (and should not) be on the market. Cf. Zogenix, Inc. v. Patrick, 2014 WL 1454696, at *1-2

(D. Mass. Apr. 15, 2014) (state regulation banning doctors and pharmacists from prescribing and

dispensing a prescription opioid was preempted); Gross v. Pfizer, Inc., 825 F. Supp. 2d 654, 659

(D. Md. 2011) (requiring a drug manufacturer “to stop production of a drug” “directly conflict[s]

with” FDA’s “sole authority” to decide “whether a drug may be marketed.”); see also JM 36-38.

         Plaintiffs’ proposed “stop shipment” requirement would also conflict with DEA’s authority

to determine whether a prescription opioid may lawfully be distributed. 21 U.S.C. § 824(a)-(b).

No matter how Plaintiffs dress up their claims based on these allegations,11 they are preempted.

         Plaintiffs’ discussion of Wyeth and impossibility preemption are inapposite. Opp. 115 &

n.84. As Plaintiffs concede, Wyeth addresses preemption of claims based on labeling, id., not on

the “availability of [drugs]” for the public. JM 38 (quoting Zogenix, 2014 WL 1454696, at *1-2).

By contrast, Plaintiffs’ claims seek to hold the Manufacturer Defendants liable for not stopping

shipment (or sales) of their products to the public and are preempted under principles of obstacle

preemption. Id. 36. Thus, regardless of whether it would have been “impossible” for the Manufac-

turer Defendants to stop shipment (or sales) of opioids, FDA’s and DEA’s authority to make (and

keep) prescription opioids on the market suffices to preempt claims based on this conduct. Id.


11
   That Plaintiffs’ diversion-monitoring claims also challenge other conduct (e.g., monitoring, re-
porting) is beside the point. Claims based on such conduct fail for other reasons. See supra § II.B;
infra §§ V-XIII.


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IV.     THE RICO MARKETING ENTERPRISE CLAIM (COUNT 1) FAILS FOR ADDI-
        TIONAL REASONS

        A.      The Opposition Confirms That Plaintiffs Lack RICO Standing

                1.      Derivative Injuries Do Not Meet RICO’s Direct-Injury Requirement

        To maintain a RICO claim, the plaintiff must be an “immediate victim[]” of the alleged

misconduct. Anza, 547 U.S. at 460. Plaintiffs who suffer injuries “passed on by another party that

had a more direct relationship with the defendant” lack RICO standing. Trollinger v. Tyson Foods,

Inc., 370 F.3d 602, 615 (6th Cir. 2004); see JM 9. Here, Plaintiffs concede they seek recovery only

for “police and fire services, lost taxes, revenue and funding.” Opp. 37. These are quintessentially

indirect injuries passed on by opioid consumers who allegedly suffered direct injuries from the

claimed RICO violations. See 2AC ¶¶ 902, 934.

        Joining eight other circuits, the Sixth Circuit has expressly rejected “cost-recovery claims”

for “health-related expenses” where, as here, the “claims are inherently contingent on injury to

third-part[ies].” Perry, 324 F.3d at 849. Indeed, Plaintiffs’ alleged damages are even more remote

than the “pecuniary losses proximately resulting from a personal injury” deemed insufficient in

Jackson v. Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556, 565 (6th Cir. 2013)—damages

which were at least related to the plaintiffs’ own injuries. Because Plaintiffs’ alleged injuries “rest[]

on the independent actions of third and even fourth parties,” and there are “multiple steps” sepa-

rating “the alleged fraud from the asserted injury,” Plaintiffs lack standing to support a RICO claim

as a matter of law. Hemi Grp., LLC v. City of New York, 559 U.S. 1, 15 (2010).

                2.      Public Expenditures Are Not Injuries to “Business or Property”

        Plaintiffs’ alleged public expenditures also do not constitute injuries to “business or prop-

erty” sufficient for RICO standing. JM 10-11. Rather than address this fatal deficiency, Plaintiffs

argue, irrelevantly, that government entities have RICO standing to sue for lost tax revenue. Opp.



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37-38. That argument fails at many levels. First, Plaintiffs’ primary case, Welborn v. Bank of New

York Mellon Corp., holds that a government’s RICO standing is limited to “injuries suffered in its

capacity as a consumer of goods and services.” 557 F. App’x 383, 387 (5th Cir. 2014). Plaintiffs

allege no such losses. JM 11. Second, Plaintiffs’ own cases show that to the extent courts have

permitted governments to recover damages related to tax revenue, recovery is limited to “tax losses

from unpaid taxes”—not public expenditures paid out of general tax revenues as Plaintiffs allege

here. See City of N.Y. v. Smokes-Spirits.com, Inc., 541 F.3d 425, 444-45 (2d Cir. 2008); see also

Ill. Dep’t of Revenue v. Phillips, 771 F.2d 312, 317 (7th Cir. 1985).12 At bottom, where, as here,

“a governmental body acts in its sovereign or quasi-sovereign capacity, seeking to . . . promote the

public well-being, it cannot claim to have been injured in its property for RICO purposes.” Canyon

Cty. v. Syngenta Seeds, Inc., 519 F.3d 969, 976 (9th Cir. 2008).

         B.     Plaintiffs Fail to Plead Other Elements Required Under RICO

                1.      Plaintiffs Do Not Plead the Existence of an “Opioid Marketing Enter-
                        prise”

         Plaintiffs cannot establish the existence of an Opioid Marketing Enterprise for two reasons.

First, Plaintiffs now concede that each Manufacturer Defendant was pursuing only its own profits

and revenues—not those of any alleged enterprise. Opp. 50. That concession forecloses any at-

tempt to show that the alleged members of the purported Opioid Marketing Enterprise had a “com-

mon purpose.” Ouwinga v. Benistar 419 Plan Servs., Inc., 694 F.3d 783, 794 (6th Cir. 2012); see

Boyle v. United States, 556 U.S. 938, 946 (2009). Indeed, it is black-letter law that RICO defend-

ants must have “conducted or participated in the conduct of the ‘enterprise’s affairs,’ not just their


12
  Notably, the Supreme Court reversed the Second Circuit in Smokes-Spirits, see Hemi Grp., 559
U.S. at 15-16 (holding that lost revenue from unpaid taxes does not satisfy RICO’s causation re-
quirements), and the Sixth Circuit has rejected the holding in Phillips, see State of Mich., Dep’t of
Treasury, Revenue Div. v. Fawaz, 848 F.2d 194, 1988 WL 44736, at *1 (6th Cir. 1988).


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own affairs.” Reves v. Ernst & Young, 507 U.S. 170, 185 (1993) (emphases in original). “Were the

rule otherwise, competitors who independently engaged in similar types of transactions with the

same firm could be considered associates in a common enterprise.” In re Ins. Brokerage Antitrust

Litig., 618 F.3d 300, 375 (3d Cir. 2010).

       Second, Plaintiffs have not pleaded a “framework or superstructure for making and carry-

ing out decisions.” Ouwinga, 694 F.3d at 793. Plaintiffs speculate that the Manufacturer Defend-

ants had “interpersonal relationships” because they were members of trade associations such as

PCF and HDA. Opp. 52-53. But “membership in a trade organization . . . does not make Defend-

ants part of an enterprise,” nor does it “render plausible the existence of a conspiratorial agree-

ment.” Almanza v. United Airlines, Inc., 851 F.3d 1060, 1072 (11th Cir. 2017).

               2.      Plaintiffs Do Not Plead Any Actionable Racketeering Activity

                       a.      Plaintiffs’ Theory of Fraud Is Not Actionable

       Plaintiffs do not dispute that the central premise of their unlawful marketing theory is that

the Manufacturer Defendants concealed opioids’ risks of addiction and abuse. See JM 20-23. Nor

do they dispute the critical facts that establish the implausibility of this theory, namely: that Ohio

prescribers have a duty to know the risks of the drugs they prescribe; that an alleged misrepresen-

tation must be viewed in context; and that the context here includes the Manufacturer Defendants’

dissemination of all relevant risk information about their prescription opioids in FDA-approved

labels and REMS. See id. Rather, Plaintiffs respond by mischaracterizing the Manufacturer De-

fendants’ argument as asserting that FDA labels “absolve defendants from telling the truth.” Opp.

47. The Manufacturer Defendants make no such argument; instead, they have shown that their

FDA-approved labels and REMS were made available to the “learned intermediary” healthcare

providers, which establishes as a matter of law that the Manufacturer Defendants did not conceal

or minimize opioids’ risks. JM 22-23. To the extent Plaintiffs respond to that argument, each of


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their responses fail.

         First, Plaintiffs contend that the learned intermediary doctrine does not apply to RICO

claims. Opp. 46 n.30. This is wrong. Courts considering civil RICO claims for alleged improper

advertising have routinely applied learned intermediary principles when rejecting the plaintiffs’

claims. See, e.g., JM 15 (citing, among others, Ironworkers Local Union No. 68 v. AstraZeneca

Pharm. LP, 585 F. Supp. 2d 1339, 1344 (M.D. Fla. 2008)).13 A plaintiff must thus allege that the

defendants made misrepresentations “reasonably calculated to deceive persons of ordinary pru-

dence and comprehension.” Advocacy Org. v. Auto Club Ins. Ass’n, 176 F.3d 315, 322 (6th Cir.

1999); Ford v. Pa. Higher Educ. Assistance Agency, 2018 WL 1377858, at *5 (N.D. Ohio Mar.

19, 2018). Given the Manufacturer Defendants’ extensive risk disclosures, Plaintiffs cannot estab-

lish that the Manufacturer Defendants’ alleged concealment of those risks was “calculated to de-

ceive” physicians of “ordinary prudence and comprehension.”14

         Second, Plaintiffs attempt—for the first time—to challenge the adequacy of the Manufac-

turer Defendants’ labels. Plaintiffs’ Opposition asserts that the “December 2016 warning labels”

submitted as exhibits to the Motion “were preceded by FDA announcements regarding safety label

changes and post market study requirements,” which purportedly show that prior labels “did not

adequately warn doctors.” Opp. 47. But as the Opposition later admits, the 2AC expressly dis-

claims any “challenge [to] [Defendants’] FDA-approved labeling.” Id. 116; see 2AC ¶ 349 (alleg-

ing misrepresentations were “contrary to” labels); see also supra § III.A. Plaintiffs’ attempt to


13
   Plaintiffs’ reliance here on Neurontin is misplaced for the reasons stated supra § II.A.2.
14
   Plaintiffs attempt to distinguish Carpenters and Travelers by arguing that the plaintiffs there
failed to plead fraud because their allegations of unlawful marketing were vague and incomplete.
Opp. 48-50. But the allegations of improper marketing were significantly more detailed than those
alleged here. Moreover, the court in each case held that, pleading deficiencies aside, the plaintiff
still could not allege actionable fraud because prescribers are presumed to have knowledge of risks
disclosed in drug labeling. Carpenters, 2014 WL 2115498, at *6; Travelers, 32 F. Supp. 3d at 553.


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modify the 2AC’s allegations should be rejected. See Thomason v. Nachtrieb, 888 F.2d 1202, 1205

(7th Cir. 1989) (a “complaint may not be amended by the briefs in opposition to a motion to dis-

miss”).

          Similarly, while Plaintiffs assert that the 2016 labels “misrepresent label warnings during

the relevant time period,” Opp. 47, they nowhere allege what prior warnings these labels “misrep-

resent” or how any relevant warning changed materially over time.15 Nor could they, as the Man-

ufacturer Defendants’ labels have always contained extensive disclosures of the risks at issue, in-

cluding addiction, abuse, and misuse. Judicially-noticeable materials confirm this.16 Because

Plaintiffs do not allege that prescribers lacked access to these disclosures, they cannot maintain

their core fraud theory. See JM 20-23.

                         b.      Plaintiffs Fail to Plead Any Mail or Wire Fraud with the Requi-
                                 site Particularity

          Plaintiffs concede that, to satisfy Rule 9(b), they must plead the Manufacturer Defendants’

alleged RICO scheme with particularity. Opp. 35. The Opposition fails to point to any allegations

in the 2AC that satisfy this requirement. Instead, Plaintiffs contend that the Court should excuse

their pleading deficiencies because Rule 9(b) is relaxed in “complex” fraud cases involving pub-

licly available information. Id. 27.

          That is not the standard. Plaintiffs are not excused in this case from alleging with particu-

larity the factual basis for their contention that the Manufacturer Defendants defrauded prescribers


15
   For the same reasons, Plaintiffs are wrong that the December 2016 labels “have absolutely no
relevance” to “prior” conduct. Opp. 47.
16
   Given Plaintiffs’ concession that they do not challenge any label, Opp. 116; 2AC ¶ 349, it is
unnecessary and would be impractical to require the Manufacturer Defendants to submit every
version of the labeling used for each opioid. Should the Court wish to review earlier labels, they
are publicly available at FDA’s Online Label Repository, https://labels.fda.gov, and FDA’s Drug
Database, https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm, and the Court can judicially
notice their contents. See Manufacturer Defs.’ Request for Judicial Notice (Dkt. #499-2).


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in Summit County into writing harmful, ineffective, or medically unnecessary opioid prescriptions.

See JM 12 & n.15 (collecting cases); see also Pirelli Armstrong Tire Corp. Retiree Med. Bens. Tr.

v. Walgreen Co., 631 F.3d 436, 446 (7th Cir. 2011). Plaintiffs’ recitation of the Manufacturer

Defendants’ alleged marketing practices and the nine categories of alleged misrepresentations does

not satisfy their obligation. These allegations omit the critical details, failing to identify even one

Summit County prescriber whom a Manufacturer Defendant purportedly misled. Opp. 29. The

“complex[ity]” of the alleged fraud does not “relax” Rule 9(b); to the contrary, it makes it more

critical that Plaintiffs plead the details. See Yuhasz v. Brush Wellman, Inc., 341 F.3d 559, 564 (6th

Cir. 2003) (“[A] plaintiff should not be able to avoid the specificity requirements of Rule 9(b) by

relying upon the complexity of the edifice which he created.”).17

         Lastly, Plaintiffs turn a blind eye to the 2AC’s flagrant violation of the “prohibition on

group pleading.” Opp. 34; see JM 25. Plaintiffs argue with no support that group pleading is barred

only in securities fraud cases. Opp. 34. In fact, courts routinely apply the rule against group plead-

ing outside the securities context. See Aaron v. Durrani, 2013 WL 5177144, at *3 (S.D. Ohio Sept.

12, 2013); Windsor-Laurelwood Ctr. Behavioral Med. v. Waller Lansden Dortch & Davis, 2013

WL 12303992, at *5 (N.D. Ohio July 24, 2013); Kurek v. Ohio Dep’t of Dev. Disabilities, 2017

WL 1555930, at *6 (N.D. Ohio Jan. 20, 2017). The group pleading rule requires dismissal here.

                       c.      Plaintiffs Cannot Attribute Any Third-Party Statements to the

17
  Plaintiffs’ reliance on SFS Check, LLC v. First Bank of Delaware only undermines their position,
as the court there dismissed a fraud claim for failure to “specify the time, place, and content of the
alleged misrepresentation” and “describe the injury resulting from the fraud.” 774 F.3d 351, 358
(6th Cir. 2014). So too with Carpenters, as the court there dismissed a RICO claim alleging fraud-
ulent pharmaceutical marketing for failure to plead “the who, what, when, where and how . . .
required under Rule 9(b),” including how prescribers—who “are presumed to have knowledge of
a drug label’s content”—were misled by the alleged fraud. 2014 WL 2115498, at *6. The failures
here are even worse: Plaintiffs fail to allege even one instance in which any Manufacturer Defend-
ant’s allegedly misleading statements or omissions led a Summit County prescriber to write an
ineffective or harmful opioid. JM 24-26. This defeats Count 1. Id.


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                               Manufacturer Defendants

       Plaintiffs’ Opposition confirms that the Manufacturer Defendants cannot be liable for any

third-party statement at issue. As Plaintiffs concede, such statements cannot be attributed to the

Manufacturer Defendants absent factual “allegations about a relationship between the parties” that

provide a “basis upon which control could be inferred.” Opp. 54. According to Plaintiffs, such

allegations would include, for example, that the “Manufacturer Defendants gave [third parties]

detailed, step-by-step directions . . . in carrying out their business operations and were given vir-

tually no discretion in performing these operations.” Id. (quoting Taylor v. Checkrite, Ltd., 627 F.

Supp. 415, 417 (S.D. Ohio 1986)).

       Plaintiffs nowhere identify any factual allegations showing such control. Instead, they dou-

ble-down on their conclusory allegations that the Manufacturer Defendants “fund[ed], direct[ed],

edit[ed], [and] approv[ed]” unspecified third-party activities. Opp. 55. These allegations neither

“detail[]” nor “fully explain” any “editorial control.” Id. They do not explain what “editorial con-

trol, if any, is entailed” in the Manufacturer Defendants’ unspecified funding, directing, editing,

or approving of third-party “materials or events.” City of Chi. v. Purdue Pharma L.P., 2015 WL

2208423, at *11 (N.D. Ill. May 8, 2015). Nor do they link any purported control to any third-party

statements at issue. At most, Plaintiffs speculate that control may have existed. For example:

       •   When discussing grant proposals, Plaintiffs allege only that the Manufacturer Defend-
           ants “suggested” certain activities. 2AC ¶ 394; see also id. ¶ 361.
       •   When discussing individual physicians, Plaintiffs allege only that the Manufacturer
           Defendants “kept close tabs on the content of [their] materials” and worked with parties
           “likely to remain on-message.” Id. ¶ 401.
       •   When discussing CME programs, Plaintiffs allege only that, by funding purported
           “Front Groups,” the Manufacturer Defendants “could expect instructors to deliver mes-
           sages favorable to them.” Id. ¶ 441.




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None of these allegations shows the requisite “right of control held by [the Manufacture Defend-

ants] over [any third parties] specifically in the areas of operation relevant to Plaintiffs’ claims.”

Taylor, 627 F. Supp. at 418. Plaintiffs’ allegations about third-party statements therefore are in-

sufficient to state an unlawful marketing claim against the Manufacturer Defendants. JM 26-27.

V.     THE RICO SUPPLY CHAIN ENTERPRISE CLAIM (COUNT 2) FAILS FOR AD-
       DITIONAL REASONS

       A.      Plaintiffs Lack Statutory Standing and Cannot Use RICO to Circumvent the
               Absence of a Private Cause of Action Under the CSA

       Plaintiffs concede that their RICO Supply Chain Enterprise claim is based entirely on the

theory that certain Manufacturer Defendants failed to satisfy their purported obligations to moni-

tor, report, and halt suspicious orders under the CSA. Opp. 30; see JM 27-33 & n.28. Plaintiffs do

not dispute that these purported obligations are owed only to DEA, or that the right to enforce the

CSA rests exclusively with the federal government. See JM 27. The federal government’s exclu-

sive enforcement authority on these issues would be meaningless if Plaintiffs could use RICO as

an end-run around the CSA. See id.; In re Epogen & Aranesp Off-Label Mktg. & Sales Practices

Litig., 590 F. Supp. 2d 1282, 1289-90 (C.D. Cal. 2008) (“[W]hat the FDCA does not create di-

rectly, RICO cannot create indirectly.”). Plaintiffs cite nothing allowing them to wield RICO in

this novel and improper fashion, and the Court should reject their attempt to do so here.

       B.      Plaintiffs Fail to Plead Other Elements Required Under RICO

               1.      Plaintiffs Fail to Allege the Existence of an “Opioid Supply Chain En-
                       terprise”

       Plaintiffs’ allegations that the Manufacturer Defendants engaged in parallel conduct and

had the mere “opportunity to form agreements” by joining industry trade groups, Opp. 56, are

insufficient to establish a RICO enterprise, see supra § IV.B.1. Plaintiffs cannot cure that defi-

ciency with conclusory allegations that the Manufacturer Defendants tracked their competitors’



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prescription opioid sales “yet failed to report them.” Opp. 56-57. As explained infra § V.B.2.a, the

CSA requires DEA registrants only to monitor and report suspicious orders placed with them for

their own products—not their competitors’ products. Failure to comply with non-existent obliga-

tions cannot establish an unlawful enterprise or conspiracy—and Plaintiffs cite nothing showing

otherwise. Id.

                 2.     Plaintiffs Fail to Plead Any Actionable Racketeering Activity

                        a.      Alleged Failure to Comply with DEA Monitoring and Reporting
                                Requirements Cannot Serve As a Predicate Act

        Plaintiffs abandon any claim that the Manufacturer Defendants’ purported monitoring and

reporting violations themselves constitute RICO predicates. See, e.g., 2AC ¶¶ 898, 901; Opp. 59.

Instead, Plaintiffs argue that the Manufacturer Defendants committed RICO predicate acts by vi-

olating 21 U.S.C. § 843(a)(4)(A), a recordkeeping provision that prohibits registrants from know-

ingly or intentionally furnishing fraudulent information in, or omitting material information from,

records filed with DEA. Opp. 59-60. But violation of Section 843(a)(4)(A) is not included in

RICO’s list of predicate crimes. See 18 U.S.C. § 1961(1). Plaintiffs contend that any “felony vio-

lation of the CSA is a racketeering activity under section 1961(1)(D).” Opp. 62. If that were the

case, however, Section 1961(1)(D) would say so. Instead, Section 1961(1)(D) enumerates partic-

ular types of felony controlled substance offenses that constitute RICO predicate acts; namely,

“the felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

dealing in a controlled substance.” Plaintiffs’ argument that Section 1961(1)(D) (which applies to

felony drug dealing) includes recordkeeping violations under Section 843(a)(4)(A) has no support

in either the text of the statute or in case law.

        Section 843(a)(4)(A) has no application here for additional reasons. The failure to monitor

and report suspicious orders implicates, at most, Section 842(a)(5), JM 31-32, which Plaintiffs



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concede is not a RICO predicate. Opp. 59-60. In addition, Plaintiffs do not meaningfully respond

to the Manufacturer Defendants’ argument that under the CSA, DEA registrants have no duties to

(1) monitor and report downstream suspicious orders or (2) halt suspicious orders at all. JM 32.

The relevant DEA regulations require only that DEA registrants monitor and report suspicious

orders from their customers (i.e., here, wholesale distributors). See id.; see also Opp. 60 (“The

word ‘downstream’ does not appear in either CSA § 823 or § 1301.74 of the C.F.R.”).18 Similarly,

Plaintiffs’ proposed “stop shipment” requirement has no basis in any controlled substances statute

or regulation. JM 32. Nor does any case impose that requirement on pharmaceutical manufactur-

ers.19 Plaintiffs’ only support for such a requirement comes from a sub-regulatory letter from DEA

to its registrants. See Letter from Joseph T. Rannazzisi, Deputy Assis. Admin., Office of Diversion

Control, to Cardinal Health (Dec. 27, 2007), as filed in Cardinal Health, Inc. v. Holder, No. 12-

0185 (D.D.C. Feb. 10, 2012), Dkt. #14-8; see also 2AC ¶¶ 523-35 (citing DEA letter). But that

letter carries no legal force, is not entitled to Chevron deference, and thus cannot sustain the sweep-

ing obligations that Plaintiffs attempt to impose on the Manufacturer Defendants. See United States

v. Mead Corp., 533 U.S. 218, 234 (2001).

                       b.      Plaintiffs Fail to Plead Any Mail or Wire Fraud with the Requi-
                               site Particularity




18
   Plaintiffs’ observation that Mallinckrodt’s July 2017 settlement with DEA resolved allegations
that Mallinckrodt did not properly monitor and report suspicious orders makes no difference, Opp.
60, as the settlement included no admission that Mallinckrodt owed a duty to monitor and report
downstream orders. See Admin. Memo. of Agreement § I.4 (July 7, 2017), https://www.jus-
tice.gov/usao-edmi/press-release/file/986026/download (last visited July 13, 2018). And, of
course, nothing in that settlement can be imputed to other Defendants.
19
  Plaintiffs cite Masters Pharm., Inc. v. DEA, but that case involves only distributors. 861 F.3d
206, 212-13 (D.C. Cir. 2017). Further, to the extent Masters Pharm. held that non-binding internal
DEA policy statements impose a “stop shipment” requirement on DEA registrants, it did so with
no analysis. Id. The court’s reliance on these policy statements fails for the reasons stated above.


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         Count 2 also fails for lack of particularity. As the Motion explains, Plaintiffs have not al-

leged any specific misrepresentations or omissions in connection with the Manufacturer Defend-

ants’ alleged failure to comply with the monitoring and reporting obligations under the CSA and

its implementing regulations. JM 33. Rather than respond to this argument,20 Plaintiffs assert that

“[t]he mail and wire fraud statutes [] do not require a misrepresentation or omission; a scheme or

artifice to defraud will suffice.” Opp. 30. But a “scheme to defraud” necessarily consists of “in-

tentional fraud,” and “[t]o allege intentional fraud, there must be proof of misrepresentation[] or

omission[].” Advocacy Org., 176 F.3d at 322. Because the 2AC fails to identify any such misrep-

resentation or omission with the particularity required under Rule 9(b), Plaintiffs’ RICO Supply

Chain Enterprise claim should be dismissed. JM 33-34.

VI.      THE OCPA CLAIMS (COUNTS 3-4) FAIL FOR ADDITIONAL REASONS

         Plaintiffs’ failure to state a RICO claim dooms their OCPA claims. See JM 38; Aaron v.

Durrani, 2014 WL 996471, at *8 (S.D. Ohio Mar. 12, 2014) (“[RICO analysis] applies equally”

to the OCPA).21 The Opposition also confirms that Plaintiffs cannot establish OCPA’s requisite

“pattern” of corrupt activity. As Plaintiffs acknowledge, Opp. 68, “[a] plaintiff seeking to recover

under the [OCPA] must allege a pattern of corrupt activity that includes at least one predicate act

that is not a form of securities fraud, mail or wire fraud.” W. & S. Life Ins. Co. v. JPMorgan Chase



20
  The Opposition refers only to generalized allegations of “false and misleading statements.” See,
e.g., Opp. 30 (citing 2AC ¶ 856). None of these allegations specifically identifies any fraudulent
representation or omission made in connection with any particular suspicious order.
21
   Contrary to Plaintiffs’ suggestion, Opp. 64-65, the Manufacturer Defendants did not move to
dismiss the OCPA claim for lack of standing, see JM 38-39. And Plaintiffs’ argument that OCPA
does not require a “direct injury,” Opp. 66, is immaterial. The Ohio Supreme Court has “adopted
the Holmes Court’s proximate cause analysis” as state law. City of Cleveland, 615 F.3d at 503.
Regardless of whether OCPA imposes a “direct injury” requirement for standing, proximate cau-
sation sufficient to satisfy Holmes is an essential element of the claim. See Trollinger, 370 F.3d at
613.


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Bank, N.A., 54 F. Supp. 3d 888, 915 (S.D. Ohio 2014). To the same end, the OCPA expressly

requires that the alleged incidents giving rise to the “[p]attern of corrupt activity . . . are not so

closely related to each other and connected in time and place that they constitute a single event.”

O.R.C. § 2923.31(E).

         Here, Plaintiffs allege no predicate act that is not “a form of” mail or wire fraud: Ohio’s

telecommunications fraud statute is substantively identical to the federal mail and wire fraud stat-

utes.22 Indeed, the cases they cite all involve alleged predicate acts that, unlike here, were not

forms of mail or wire fraud. See Canterbury v. Columbia Gas of Ohio, 2001 WL 1681132, at *10-

13 (S.D. Ohio Sept. 25, 2001) (extortion and theft); Bradley v. Miller, 2013 WL 1326868, at *7

(S.D. Ohio Mar. 28, 2013) (money laundering). Moreover, the acts underlying the alleged tele-

communications fraud are the same acts underlying the alleged mail and wire fraud. JM 39. That

is fatal to Plaintiffs’ OCPA claim. See Cap City Dental Lab, LLC v. Ladd, 2016 WL 4573993, at

*10 (S.D. Ohio Sept. 1, 2016) (“[U]nderlying offenses . . . cannot support a pattern of corrupt

activity” when they “are predicated upon the same set of operative facts, are raised against the

same set of defendants, and involve the same property.”); Rahimi v. St. Elizabeth Med. Ctr., 1997

WL 33426269, at *2 n.1 (S.D. Ohio July 16, 1997). Plaintiffs’ OCPA claim should be dismissed.

See JM 38-40.

VII.     THE COMMON LAW AND STATUTORY PUBLIC NUISANCE CLAIMS
         (COUNTS 5-6) FAIL FOR ADDITIONAL REASONS

         A.     Both Claims Are Abrogated by the Ohio Product Liability Act

         For the reasons stated in the opening briefs and the Distributor Defendants’ Reply (Dkt.

#744) (which is here adopted by reference), OPLA abrogates Plaintiffs’ common law and statutory


22
  21 U.S.C. § 843(a)(4)(A) does not qualify as a predicate act under the OCPA. See supra §
V.B.2.a.


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nuisance claims. Counts 5 and 6 should be dismissed accordingly.

       B.      The Common Law Claim Is Barred by the Economic Loss Rule

       Plaintiffs concede that Ohio’s economic loss rule prevents tort plaintiffs from recovering

economic losses absent injury to their persons or property. Opp. 21-22. Attempting to avoid this

bar, Plaintiffs argue that their absolute public nuisance claim is an “equitable claim to abate a

nuisance.” Id. 21. This new “equitable” claim is much narrower and different than the tort-based

nuisance claim asserted in the 2AC. See, e.g., 2AC ¶ 1037 (“Plaintiffs assert this Cause of Action

as a common law tort claim . . . .”). In the 2AC, Plaintiffs pleaded a broad public-nuisance claim

and requested “all legal and equitable relief as allowed by law,” including “compensatory and

punitive damages.” Id. ¶ 1038. Plaintiffs now have abandoned any claim for damages and seek

only prospective relief to “abate” the nuisance. Opp. 8 n.6 (“To the extent the SAC can be read to

also assert a nuisance claim for damages as private litigants, Plaintiffs have chosen not to press

and withdraw that claim.”); see also id. 21 (“There are numerous differences between an action

for tort damages and an action for an injunction or abatement . . . [A]n award of damages is retro-

active, applying to past conduct, while an injunction applies only to the future.”). Even Plaintiffs’

reconfigured equitable public nuisance claim does not avoid the bar of the economic loss rule.

       As an initial matter, it is well-settled that, in Ohio, “public nuisance is a theory of recovery

in tort.” RWP, Inc. v. Fabrizi Trucking & Paving Co., 2006 WL 2777159, at *4 (Ohio Ct. App.

Sept. 28, 2006); Parker v. City of Upper Arlington, 2006 WL 832523, at *2 (Ohio Ct. App. Mar.

31, 2006) (same); see JM 41. Plaintiffs do not cite a single Ohio case holding that an absolute

public nuisance claim is equitable in nature.

       Likewise, nothing supports Plaintiffs’ argument that the economic loss doctrine does not

apply to absolute public nuisance claims because they are intentional torts. Opp. 22. No Ohio court

has made this distinction in a public nuisance case. See City of Cincinnati v. Deutsche Bank Nat’l


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Tr. Co., 863 F.3d 474, 478 (6th Cir. 2017). Plaintiffs’ reliance on Eysoldt v. ProScan Imaging,

Opp. 22, is misplaced—that case involved a claim for conversion, not public nuisance. 957 N.E.2d

780, 784 (Ohio Ct. App. 2011). By contrast, in RWP, the Ohio Court of Appeals held that the

economic loss rule barred absolute nuisance claims, as “a claim of absolute nuisance . . . requires

that the plaintiff sustain injury to property.” 2006 WL 2777159, at *3-4. This Court should follow

RWP and hold that the economic loss rule bars Count 6.

         Even if the Court were to allow this absolute public nuisance claim at this stage, the Man-

ufacturer Defendants respectfully suggest the Court should, at a minimum, limit the damages re-

quest to prospective abatement of the alleged nuisance.

         C.     Plaintiffs Fail to Plead the Necessary Elements for the Common Law Claim

         No Public Right. Plaintiffs incorrectly assert that their claims do not rely on the individual

rights of Summit County residents to be “safe from defective products.” Opp. 10. Under the Re-

statement (Second) of Torts (“Restatement”),23 to qualify as a “public right” for purposes of a




23
   Plaintiffs’ citation to dismissal orders from other opioid litigation matters is unavailing. See Opp.
9-10. The Restatement governs Ohio common law nuisance claims. See Cleveland v. JP Morgan
Chase Bank, N.A., 2013 WL 1183332, at *3 (Ohio Ct. App. March 21, 2013). By contrast, the
court in State v. AmerisourceBergen Drug Corp., No. 12-C-141 (W.V. Cir. Ct. Dec. 12, 2014),
expressly declined to follow the Restatement in interpreting West Virginia law. The court in In re
Opioid Litig., Index No. 400000/2017 (N.Y. Sup. Ct. June 18, 2018), did apply the Restatement in
interpreting New York law, but did so, the Manufacturer Defendants respectfully submit, incor-
rectly. Under the Restatement § 821B cmt. g, contrary to the court’s holding, the mere allegation
that a large number of people suffer from opioid addiction does not transform their individual
rights into a public right. The court thus erred in holding that plaintiffs had alleged the existence
of a public right by pleading that the opioid crisis had “affected a considerable number of persons.”
In re Opioid Litig., Index No. 400000/2017 (N.Y. Sup. Ct. June 18, 2018) (Slip op. at 28). More-
over, the court conflated the elements of “public right” and “unreasonable interference.” Under the
Restatement, conduct does not qualify as a public nuisance absent interference with a “public
right,” even if that conduct constitutes a “significant interference” to the “public health.” Restate-
ment § 821B(1)-B(2)(a). Thus, for example, conduct that exposes individuals who use a public
right-of-way to a contagious illness qualifies as an unreasonable interference with the public right
to use that right-of-way; by contrast, making false statements that may harm an individual’s health,


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public nuisance claim, the right must be “collective in nature and not like the individual right that

everyone has not to be . . . defrauded or negligently injured.” Restatement § 821B cmt. g. Here,

however, the purported rights with which the Manufacturer Defendants allegedly interfered—the

right not to be defrauded or injured in connection with the provision of prescription opioid treat-

ment—are individual, not collective. See State v. Lead Indus. Ass’n, Inc., 951 A.2d 428, 454 (R.I.

2008) (“[T]here is no common law public right to . . . a certain standard of medical care.”). As

such, Plaintiffs have not adequately alleged the existence of a “public right.”

       No Unreasonable Interference. Plaintiffs concede that “protection against public nuisance

liability is awarded to those who operate subject to the limitations imposed by a comprehensive

regulatory scheme.” Opp. 11. But Plaintiffs allege no facts establishing that the Manufacturer De-

fendants failed to comply with any federal or state law governing the manufacture, sale, or mar-

keting of prescription opioids. See JM 44. Recognizing their pleading deficiencies, Plaintiffs argue

that the Court nevertheless should permit the public nuisance claim to proceed under City of Cin-

cinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio 2002). Opp. 12. That case is inapposite,

as the alleged conduct there involved specific distribution and marketing practices that were not

subject to federal or state law firearms regulation. See id. at 1143 (“[T]he law does not regulate

the distribution practices alleged in the complaint.”). Here, the Manufacturer Defendants’ manu-

facturing and marketing activities are subject to extensive and comprehensive federal and state

regulation. JM 44-45.

       No Allegation of Necessary Intent. Plaintiffs do not allege facts showing that the Manu-




as alleged here, is an interference only with an “individual right.” Id. § 821B cmt. g. The Manu-
facturer Defendants intend to take an interlocutory appeal of the New York ruling.


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facturer Defendants “intended to bring about the conditions” of the opioid crisis—widespread opi-

oid abuse, misuse, and addiction. Nottke v. Norfolk S. Ry. Co., 264 F. Supp. 3d 859, 863 (N.D.

Ohio 2017).24 Instead, Plaintiffs allege only that the Manufacturer Defendants’ marketing activity

was “designed to dramatically increase the demand for and sale of opioids,” 2AC ¶ 9, and that the

Manufacturer Defendants “should have known” that their alleged failure to maintain effective anti-

diversion controls would have “serious consequences,” id. ¶ 520. But intending to increase the

lawful sale of lawful products does not amount to intending to create a public health crisis, and

knowledge is insufficient to establish intent for absolute public nuisance claims. JM 44. Plaintiffs’

failure to adequately plead such intent also defeats Count 4. Id.25

         D.     Plaintiffs Fail to Plead a Predicate Violation for the Statutory Claim

         The Manufacturer Defendants’ Motion explained why the 2AC fails to plead a violation of

any predicate statute or regulation for Plaintiffs’ statutory nuisance claim. JM 45-47. Plaintiffs

offer no response.26 Instead, they simply assert in conclusory fashion that the 2AC pleads “vio-

lat[ions] [of] federal and state laws constituting a nuisance.” Opp. 17. This non-response is wholly



24
  To the extent Plaintiffs argue they need not allege intent to establish an absolute public nuisance,
this argument fails. Opp. 15. The Sixth Circuit has held that Ohio law recognizes only “two forms”
of absolute public nuisance: the “[1] the intentional creation of a public nuisance or [2] an abnor-
mally dangerous condition.” City of Cincinnati, 863 F.3d at 477. Plaintiffs thus cannot establish
an absolute public nuisance merely by alleging that the Manufacturer Defendants engaged in “un-
lawful conduct.” Opp. 15. Even if they could, Plaintiffs have not adequately pleaded that the Man-
ufacturer Defendants violated any law. JM 19-20, 34-38, 42-47; see supra §§ IV.B.2, V.B.2, VI;
infra §§ VII.D, VIII-IX.
25
  Plaintiffs are wrong in their assertion that public nuisance claims raise factual issues that cannot
be resolved at the pleading stage. Opp. 13. Courts can, and routinely do, dismiss such claims on
the pleadings, including for failure to plead proximate cause. See, e.g., District of Columbia v.
Beretta U.S.A. Corp., 872 A.2d 633, 646-51 (D.C. App. 2005); Camden Cty. Bd. of Chosen Free-
holders v. Beretta U.S.A. Corp., 273 F.3d 536, 541 (3d Cir. 2001); City of Cleveland, 621 F. Supp.
2d at 532; City of Chi. v. Beretta U.S.A. Corp., 821 N.E.2d 1099, 1136-38 (Ill. 2004).
26
  Plaintiffs’ response to Count V’s other defects—i.e., lack of causation and preemption—fails
for the reasons discussed supra §§ II-III. Moreover, Plaintiffs have withdrawn their request for


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inadequate to rebut the Manufacturer Defendants’ arguments or show how Count 5 otherwise

pleads a requisite statutory or regulatory violation.

         Nor can Plaintiffs save Count 5 by arguing that its deficiencies turn on “factual dispute[s].”

Id. 18. The deficiencies turn on straightforward interpretations of statutes and regulations, includ-

ing some that on their face apply only to wholesale distributors; another that merely defines “dan-

gerous drug”; and a final one that exempts from liability “manufacturers . . . whose conduct is in

accordance with” certain Ohio laws.27 JM 46-47. Plaintiffs’ failure to identify a germane (and

actionable) statutory or regulatory violation defeats Count V. See Roberts v. Hamer, 655 F.3d 578,

582 (6th Cir. 2011) (“A matter requiring statutory interpretation is a question of law.”).28

VIII. THE NEGLIGENCE CLAIM (COUNT 7) FAILS FOR ADDITIONAL REASONS

         Plaintiffs have not adequately pleaded the existence of a duty or causation. JM 47. Nor can

they circumvent the economic loss rule or federal preemption. Id. For each of these reasons, the

Court should dismiss Plaintiffs’ negligence claim.

         In an attempt to re-characterize their failed negligence claim, Plaintiffs argue that they do

not seek to enforce “statutory duties,” but instead rely on Ohio and federal statutes only as evidence




nuisance damages, see Opp. 8 n.6, providing another basis to strike that request. See JM 45, n.39.
27
  Plaintiffs argue that the Court cannot decide whether the safe harbor defense under O.R.C. §
2925.02(B) applies because it is “an affirmative defense” not resolvable at the pleading stage. Opp.
18 n.14. But the Court may consider the defense because Plaintiffs have “explicitly addressed it in
the pleadings,” and “the undisputed facts conclusively establish [it] as a matter of law.” Estate of
Barney v. PNC Bank, 714 F.3d 920, 926 (6th Cir. 2013); see 2AC ¶ 987; JM 46-47.
28
  In their Opposition, Plaintiffs cite additional purported statutory and regulatory violations that
the 2AC does not invoke. Compare Opp. 17 (citing 21 U.S.C. § 821; O.R.C. §§ 3719, 4729; and
21 C.F.R. §§ 1303.11, 1306.04), with 2AC ¶¶ 984-86. The Court should ignore all of them. See
Thomason, 888 F.2d at 1205. Moreover, none of these additional authorities can sustain Count V,
as none imposes any duties or obligations on the Manufacturer Defendants: 21 U.S.C. § 821 and
21 C.F.R. § 1303.11 govern the scope of the federal government’s regulatory authority; 21 C.F.R.
§ 1306.04 applies only to prescribers; and O.R.C. §§ 3719.01, 4729 merely define certain terms.


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of the Manufacturer Defendants’ common-law duties under a negligence per se theory. Opp. 74-

77. But Ohio does not allow a negligence per se claim unless the underlying statute provides a

private right of action. Rogozinsky v. Danek Med., Inc., 1999 WL 33537323, at *2 (N.D. Ohio July

8, 1999); see also Chambers v. St. Mary’s Sch., 697 N.E.2d 198, 202-03 (Ohio 1998). Plaintiffs

purport to base their negligence per se claim on alleged violations of the CSA and “similar Ohio

statutes,” Opp. 75, but none of the cited statutes provides a private right of action, see supra §§

V.A, VII.D; JM 27-28, 45-47. Plaintiffs therefore cannot rely on a negligence per se theory. 2AC

¶¶ 1060-61.

IX.      THE FRAUD CLAIM (COUNT 8) FAILS FOR ADDITIONAL REASONS

         Under Ohio Supreme Court precedent, “a fraud claim cannot be predicated on . . . misrep-

resentations made to third parties.” Lucarell v. Nationwide Mutual Ins. Co., 97 N.E.3d 458, 469

(Ohio 2018). Plaintiffs’ failure to plead first-party reliance dooms their fraud claim. JM 48-49.

Lucarell forecloses Plaintiffs’ argument that they may maintain a common law fraud claim when

a defendant allegedly made a misrepresentation to an intermediary with the intent that the misrep-

resentation be conveyed to the plaintiff. Opp. 91.29 Even if Plaintiffs’ characterization of the stand-

ard were correct (and it is not), the 2AC still would not meet it here. The crux of Plaintiffs’ fraud

theory is that the Manufacturer Defendants made representations and omissions to physicians, who

in turn prescribed opioid medications to patients. E.g., 2AC ¶ 1074. The 2AC does not allege that

the Manufacturer Defendants made any misrepresentations or omissions with intent that they be




29
   Plaintiffs’ reliance on Nernberg v. Pearce, 35 F.3d 247 (6th Cir. 1994), and Lewis v. Horace
Mann Ins. Co., 410 F. Supp. 2d 640 (N.D. Ohio 2005), fails, as both cases pre-date Lucarell. See
Opp. 91-92. And neither treatise Plaintiffs cite discusses any post-Lucarell case that dictates a
different result. See id. (citing 50 Ohio Jur. 3d Fraud and Deceit § 79 and Restatement § 533).


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conveyed to Plaintiffs. The 2AC asserts in general terms that the Manufacturer Defendants’ al-

leged misrepresentations and omissions caused Plaintiffs harm, id. ¶ 1083, but it nowhere alleges

that the Manufacturer Defendants targeted the alleged fraud at Plaintiffs or that Plaintiffs made

expenditures for any allegedly improper opioid prescriptions that resulted, see Opp. 3 n.2.

X.       THE “INJURY THROUGH CRIMINAL ACTS” CLAIM (COUNT 9) FAILS FOR
         ADDITIONAL REASONS

         Plaintiffs cannot plead violation of O.R.C. § 2307.60 because they cannot allege that any

Manufacturer Defendant has been convicted of the alleged criminal acts underlying their claim.30

Plaintiffs argue that the Ohio Supreme Court, in Jacobson v. Kaforey, 75 N.E.3d 203 (Ohio 2016),

abolished the criminal conviction requirement. Opp. 92-93.31 But Jacobson did not even address

that requirement. Rather, the Jacobson court held only that § 2307.60 authorizes a cause of action

“for damages resulting from any criminal act,” 75 N.E.3d at 207, and expressly limited its holding:

“Any ensuing issues regarding how the statute operates or what a plaintiff must do to prove a claim

under R.C. 2307.60(A)(1) are beyond the scope of this appeal,” id. at 206.

         Jacobson thus left intact existing Ohio precedent requiring a conviction under § 2307.60.

See JM 49-50. Indeed, the only cases Plaintiffs cite purportedly holding otherwise mistakenly re-




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   The alleged criminal acts are: (1) violation of O.R.C. § 2925.02(A); (2) criminal wire fraud, mail
fraud, telecommunications fraud, and unlawful dealing in controlled substances; and (3) criminal
RICO and OCPA violations. 2AC ¶¶ 1092-98. Plaintiffs’ allegations that certain Manufacturer
Defendants pleaded guilty to unrelated criminal charges or entered into civil settlements are insuf-
ficient, Opp. 95, as Plaintiffs fail to allege that any plea involved the specific criminal acts alleged
here, and civil settlements by definition are not criminal convictions.
31
   Plaintiffs’ additional argument that the Manufacturer Defendants do not “dispute that Plaintiffs’
allegations support a finding of violations of R.C. § 2925.02(A),” Opp. 94-95, is contradicted by
the Motion: as the Manufacturer Defendants have argued, Plaintiffs have not alleged any violation
of Ohio or federal law, including O.R.C. § 2925.02(A). See, e.g., JM 46.


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lied on a different section of the Ohio Revised Code—§ 2307.61(G)(1)—which provides an ex-

ception, not applicable here, to the general requirement that plaintiffs must plead a conviction.32

That § 2307.61(G)(1) explicitly specifies that no criminal conviction is required under that provi-

sion reinforces the case law holding that § 2307.60 does require one—if the Ohio legislature did

not want to require a conviction under § 2307.60, “it certainly knew how” to say so, and it did not.

Felton v. Felton, 679 N.E.2d 672, 678 (Ohio 1997). Plaintiffs have not pleaded any facts to satisfy

the conviction requirement, and Count 9 should be dismissed accordingly.

XI.      THE UNJUST ENRICHMENT CLAIM (COUNT 10) FAILS FOR ADDITIONAL
         REASONS

         Plaintiffs mischaracterize the Manufacturer Defendants’ argument for dismissing the un-

just enrichment claim. The Manufacturer Defendants do not argue that Plaintiffs cannot raise

claims in the alternative. See Opp. 95-96. Rather, the claim must be dismissed because it is prem-

ised on the same defective allegations as Plaintiffs’ other claims. See JM 50; 2AC ¶¶ 1109, 1118-

19. Plaintiffs do not respond to that argument.

         Nor do Plaintiffs rebut the second ground for dismissing their unjust enrichment claim:

under Ohio law, only direct purchasers may bring such claims. See JM 51; Johnson v. Microsoft

Corp., 834 N.E.2d 791, 799 (Ohio 2005). The cases Plaintiffs cite for their “negative externality”

theory, see Opp. 96-99, are inapposite: all either preceded the Ohio Supreme Court’s decision in

Johnson, were not decided under Ohio law, did not involve unjust enrichment claims, or, unlike


32
  The two cases that Plaintiffs cite are Gonzalez v. Spofford, 2005 WL 1541016 (Ohio Ct. App.
June 30, 2005) and Chem. Bank v. Kausmeyer, 2016 WL 7178662 (N.D. Ohio Dec. 9, 2016). Opp.
94. But as the Ohio Court of Appeals has explained, Gonzalez’s reliance on Ohio Revised Code
§ 2307.60 “appears to be a clerical error—the proposition is found in R.C. 2307.61.” Cuyahoga
Heights Local Sch. Dist. v. Palazzo, 69 N.E.3d 162, 166 n.1 (Ohio Ct. App. 2016). Kausmeyer is
similarly erroneous, as it relied on Palazzo, which was referencing § 2307.61(G)(1). See 2016 WL
7178662, at *7; Palazzo, 69 N.E.3d at 166. Plaintiffs’ remaining cases do not address whether a
conviction is required under § 2307.60.


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here, involved a direct relationship between the parties.33 Further, despite Plaintiffs’ contention

otherwise, federal courts regularly apply Johnson outside the antitrust context to dismiss unjust

enrichment claims where, as here, there is no direct economic relationship between the parties.34

This Court should do the same.35

XII.     THE CIVIL CONSPIRACY CLAIM (COUNT 11) FAILS FOR ADDITIONAL
         REASONS

         The Opposition confirms that Plaintiffs cannot establish a claim for civil conspiracy.36 Rec-

ognizing their failure to plead an express agreement, Plaintiffs contend that they have instead al-

leged that the Manufacturer Defendants acted pursuant to “a common understanding or design.”

Opp. 100. But Plaintiffs’ attempt to re-characterize their civil conspiracy claim fails for the same

reasons stated in the Motion: the 2AC fails to plead with the requisite specificity any common

understanding between the 35 distinct Defendants (many of whom are competitors). JM 51-53.

         For example, on Plaintiffs’ marketing-based claims, the Opposition merely cites to various



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  See, e.g., Moore v. Texaco, Inc., 244 F.3d 1229, 1233 (10th Cir. 2001) (applying Oklahoma
law); McCloud v. Testa, 97 F.3d 1536, 1551 n. 21 (6th Cir. 1996) (no unjust enrichment claim;
pre-Johnson); Little Hocking Water Ass’n v. E.I. du Pont de Nemours & Co., 91 F. Supp. 3d 940,
986 (S.D. Ohio 2015) (defendant alleged to have dumped waste directly onto plaintiff’s property);
White v. Smith & Wesson, 97 F. Supp. 2d 816 (N.D. Ohio 2000) (pre-Johnson); Hummel v. Hum-
mel, 14 N.E.2d 923, 927 (Ohio 1938) (contracting parties; pre-Johnson).
34
   See, e.g., Young v. Carrier Corp., 2014 WL 6617650, at *7 (N.D. Ohio Nov. 21, 2014) (products
liability); In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Lit., 684 F. Supp. 2d 942,
951-53 (N.D. Ohio 2009) (same); In re ConAgra Foods Inc., 908 F. Supp. 2d 1090, 1116 (C.D.
Cal. 2012) (consumer protection); Randleman v. Fid. Nat’l Title Ins. Co., 465 F. Supp. 2d 812,
824 (N.D. Ohio 2006) (same).
35
  Even if Plaintiffs could pursue a “negative externality” theory, they have failed to adequately
plead it: for example, the 2AC makes only conclusory allegations that Plaintiffs have “pa[id] for
Defendants’ externalities,” 2AC ¶¶ 1113-14, and nowhere explains how Plaintiffs’ alleged in-
creased expenditures were “part of the [Manufacturer] Defendants’ businesses,” Opp. 98.
36
   Plaintiffs do not dispute that their derivative civil conspiracy fails to the extent there are no
actionable underlying torts. JM 51. Nor do Plaintiffs dispute that their negligence claim cannot
serve as a predicate for civil conspiracy. Id. 51 n.47.


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paragraphs in the 2AC and asserts, in general terms, that these allegations are sufficient to establish

a conspiratorial agreement. Opp. 101. But these paragraphs plead only parallel conduct,37 which

is insufficient to establish a common understanding or design. JM 52. So too with their diversion-

based claims: Plaintiffs cite paragraphs that are either wholly irrelevant to the Manufacturer De-

fendants, Opp. 103 (citing 2AC ¶¶ 607-26), or make only a conclusory allegation of conspiracy or

parallel activity, id. (citing 2AC ¶¶ 906-38, 950-73, 1122-36). The Opposition identifies no alle-

gations establishing any communications or meetings between any Manufacturer Defendants that

evince a “common understanding or design”—much less an actual agreement—to engage in de-

ceptive marketing or to violate any suspicious order monitoring and reporting obligations.38

         The Court also cannot infer the existence of a conspiracy merely because the Manufacturer

Defendants participated in two industry-wide trade associations (PCF and HDA). Id. 104. “[M]ere

participation in trade organizations does not render plausible the existence of a conspiratorial

agreement.” Almanza, 851 F.3d at 1072. Otherwise, every trade association would be a de facto

conspiracy. In any event, this theory rests entirely on two conclusory allegations, 2AC ¶¶ 547, 549,

and the Opposition pleads no unlawful conduct by these associations; indeed, Plaintiffs concede




37
   By way of example, Plaintiffs argue that an industry-wide agreement to engage in false market-
ing can be inferred from the Manufacturer Defendants’ “marketing conduct” itself. Opp. 101-02.
But Plaintiffs concede that the Manufacturer Defendants sell different opioids and engaged in dif-
ferent marketing activities at different times, using different methods, through different media.
2AC ¶¶ 67, 72, 76, 83, 91, 95, 104, 357-464. As in other competitive industries, parallel funding
of third party organizations like trade associations establishes only independent profit-seeking be-
havior, not an illicit agreement. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 564 (2007) (“[Plain-
tiffs’ conspiracy] claim [is based] on descriptions of parallel conduct and not on any independent
allegation of actual agreement.”).
38
  Plaintiffs’ failure to adduce any such allegations of conspiracy, whether direct or circumstantial,
distinguishes this case from Weberg v. Franks, 229 F.3d 514, 526-28 (6th Cir. 2000).


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that the HDA published materials to encourage distributors to report suspicious orders—the oppo-

site of any illicit conspiracy. Id. ¶¶ 512, 824e.39

XIII. ALL CLAIMS SHOULD BE DISMISSED, IN PART, AS TIME-BARRED

          Contrary to Plaintiffs’ contention, see Opp. 123, the Court may dismiss Plaintiffs’ claims,

in part,40 as time-barred because the 2AC “explicitly addresse[s]” the limitations defense and “the

undisputed facts conclusively establish [it] as a matter of law.” Estate of Barney, 714 F.3d at 926.

Specifically, the 2AC devotes an entire section to discussing the purported timeliness of Plaintiffs’

claims. See 2AC ¶¶ 767-77. And as the Motion explains, Plaintiffs’ claims—which rely largely on

conduct dating back to the mid-1990s—are time-barred as a matter of law to the extent they rely

on alleged conduct committed outside the applicable limitations periods. JM 53-54 & n.49.41 Plain-

tiffs’ Opposition attempts to escape this result based on the fraudulent concealment, equitable toll-

ing, and continuing violation doctrines.42 None applies.

          First, the 2AC establishes that Plaintiffs were on notice of their claims before 2013. See


39
   Plaintiffs incorrectly rely on In re Polyurethane Foam Antitrust Litig., 152 F. Supp. 3d 968
(N.D. Ohio 2015), to argue that trade membership alone could support an inference of conspiracy.
But the alleged co-conspirators in that case engaged in regular joint communications in connection
with the operation of joint ventures and on sales calls with shared customers. Id. at 992. No such
allegation is made here.
40
   Courts routinely consider on a Rule 12(b)(6) motion whether claims are time-barred in part,
rather than in whole. See, e.g., Meros v. Dimon, 2017 WL 6508723, at *7 (S.D. Ohio Dec. 20,
2017). Plaintiffs cite no support for their claim that such dismissal is improper. Opp. 122 & n.90.
41
  This includes Plaintiffs’ nuisance claims, which, contrary to Plaintiffs’ argument, are not exempt
from statutes of limitations. Opp. 123-24. Unlike the State of Ohio, political subdivisions like
Plaintiffs are not exempt from such limitations. See Ohio Dep’t of Transp. v. Sullivan, 527 N.E.2d
798, 799-800 (Ohio 1988). Further, the rule pronounced in Little Miami R.R. Co. v. Comm’rs of
Green Cty., 31 Ohio St. 338, 349 (1877), was later cabined to adverse possession cases, Houck v.
Bd. of Park Comm’rs, 876 N.E.2d 1210, 1213 (Ohio 2007), and then abrogated by O.R.C. §
2305.09(D), which sets a four-year limitations period for nuisance claims. See Law v. Lake Met-
roparks, 2006 WL 3833863, at *3 n.2 (Ohio Ct. App. Dec. 29, 2006); Ashtabula River Corp. v.
Conrail, Inc., 549 F. Supp. 2d 981, 984 (N.D. Ohio 2008).
42
     Plaintiffs’ Opposition abandons any argument relating to the discovery rule.


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2AC ¶¶ 169, 183-88, 198-201, 267, 271, 284, 286, 315, 327, 788-89. And Plaintiffs have not al-

leged what action of the Manufacturer Defendants—apart from the alleged underlying fraud it-

self—kept Plaintiffs from filing suit sooner. See id. ¶¶ 767-77; Bishop v. Lucent Techs., Inc., 520

F.3d 516, 520-21 (6th Cir. 2008). Instead, Plaintiffs stand on their bare allegation that they were

unaware of the facts underlying their cause of action. Opp. 124-26; 2AC ¶¶ 772-73. These allega-

tions, however, are insufficient to trigger application of either the fraudulent concealment or equi-

table tolling doctrines. See Bishop, 520 F.3d at 520-21 (“[P]laintiffs may not simply rely on the

bare assertion that they were unaware of the facts underlying their cause of action.”).

         Second, the continuing violation doctrine also does not apply here. The doctrine applies

narrowly to claims of a “cumulative violation” caused by a “continuing course of misconduct.”

Sta-Rite Indus., LLC v. Franklin Elec. Co., 519 F. App’x 370, 381 (6th Cir. 2013).43 Conceding

that the 2AC alleges only “discrete acts” by the Manufacturer Defendants, Plaintiffs argue that

these acts are merely “representative examples” of continuing conduct. Opp. 127 & n.93. But

Plaintiffs cite no authority holding that pleading discrete acts as “examples” of continuous conduct

satisfies the continuing violation doctrine.44 Plaintiffs also cannot show that the Manufacturer De-

fendants’ alleged conduct has caused Plaintiffs’ alleged injuries to accrue continuously. Plaintiffs

vaguely point to the various costs associated with the opioid epidemic. Opp. 127-28. But even

assuming they could show causation, Plaintiffs cannot avoid the fact that different prescribers


43
  Plaintiffs cite no Sixth Circuit case that supports their contention that the continuing violation
doctrine applies broadly outside the Title VII context. See Opp. 126 n.92. There is none. See JM
56. Instead, Plaintiffs cite only a law review article, which in turn cites only an overruled Ohio
case. See Kyle Graham, The Continuing Violations Doctrine, 43 Gonz. L. Rev. 271, 301 (2008).
44
  Moreover, the few “examples” the Opposition cites—the Manufacturer Defendants’ supposed
“invisible control over prescribing guidelines”—do not involve continuing conduct but rather pur-
ported continuing effects, specifically, that these guidelines “remain in circulation.” Opp. 127,
n.93. Continuing effects of alleged misconduct, however, are insufficient to trigger the continuing
violation doctrine. See Pittman v. Spectrum Health Sys., 612 F. App’x 810, 814 (6th Cir. 2015).


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would have relied on different alleged representations, and different “suspicious” orders would

have caused discrete harms. See Bowerman v. Int’l Union, 646 F.3d 360, 367 (6th Cir 2011). Fi-

nally, Plaintiffs’ Opposition confirms that the Manufacturer Defendants would not have prevented

further alleged harm by ceasing the alleged misconduct. Indeed, Plaintiffs assert that opioid abuse,

misuse, and addiction still “continues to spread.” Opp. 127-28. The continuing violation doctrine

simply does not apply.

                                         CONCLUSION

       For the foregoing reasons, the Court should dismiss the 2AC with prejudice.


 Dated: July 13, 2018                           Respectfully submitted,


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                           LOCAL RULE 7.1(F) CERTIFICATION

       I certify that this case has been assigned to the “litigation track” pursuant to CMO One and

that this reply brief adheres to the page limitations set forth in CMO Four at 3.



 Dated: July 13, 2018                           /s/ Charles C. Lifland

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 13, 2018, a copy of the foregoing Reply in Support of the

Manufacturer Defendants’ Joint Motion to Dismiss Plaintiffs’ Second Amended Complaint

was filed electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



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